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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------
                                                              )
In re:                                                        )   Case No. 12-12020 (MG)
                                                              )
RESIDENTIAL CAPITAL, LLC, et al.,                             )   Chapter 11
                                                              )
                                    Debtors.                  )   Jointly Administered
                                                              )
-----------------------------------------------------------
              ORDER OF FINAL DECREE PURSUANT TO SECTION 350(A) OF
                 THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022
               CLOSING CERTAIN OF THE DEBTORS’ CHAPTER 11 CASES

         This Court having considered the motion (the “Motion”) 1 of the ResCap Liquidating

Trust (the “Liquidating Trust”), successor in interest to the debtors (the “Debtors”) in the

above-captioned chapter 11 cases (the “Chapter 11 Cases”), for a final decree in the Chapter 11

Cases of the Debtors listed on Annex A hereto (the “Closing Debtors”) as more fully set forth in

the Motion; and the Court having subject matter jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of Referral of

Cases to Bankruptcy Court Judges of the District Court for the Southern District of New York,

dated January 31, 2012 (Preska, C.J.); and the Motion being a core proceeding pursuant to 28

U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Motion having been provided, and no other or further

notice need be provided; and the relief requested in the Motion being in the best interests of the

Debtors and their estates and creditors, and the Court having reviewed the Motion; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor;

1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.
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       IT IS HEREBY ORDERED THAT:

              1.      The Motion is granted as provided herein.

              2.      Pursuant to section 350(a) of the Bankruptcy Code and Rule 3022 of the

Bankruptcy Rules, a final decree is hereby entered in the cases of the Closing Debtors listed on

Annex A attached hereto and such cases are closed.

              3.      The Liquidating Trust shall provide the Office of the United States Trustee

with an estimate of the disbursements made by the Closing Debtors from the Petition Date

through the date hereof, and the Liquidating Trust shall pay any fees owing under 28 U.S.C.

§ 1930(a)(6) in connection therewith. The Debtors shall continue to report disbursements and

pay any fees owing under 28 U.S.C. § 1930(a)(6) on a quarterly basis for the Chapter 11 Cases

of Residential Capital, LLC, GMAC Mortgage, LLC, Residential Funding Company, LLC, and

Executive Trustee Services, LLC.

              5.      This Court shall have jurisdiction with respect to issues arising in

connection with the Plan or under this Final Decree.

IT IS SO ORDERED.

Dated: March 13, 2015
       New York, New York
                                            _____/s/Martin Glenn_______
                                                   MARTIN GLENN
                                            United States Bankruptcy Judge

NO OBJECTION:

OFFICE OF THE UNITED STATES TRUSTEE
SOUTHERN DISTRICT OF NEW YORK

By:    /s/ Brian S. Masumoto
           Trial Attorney




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                                          Annex A

                                   The Closing Debtors

              Debtor Name                                        Case No.
              ditech, LLC                                        12-12021
              DOA Holding Properties, LLC                        12-12022
              DOA Properties IX (Lots-Other), LLC                12-12023
              EPRE LLC                                           12-12024
              Equity Investment I, LLC                           12-12025
              ETS of Virginia, Inc.                              12-12026
              ETS of Washington, Inc.                            12-12027
              GMAC Model Home Finance I, LLC                     12-12030
              GMAC Mortgage USA Corporation                      12-12031
              GMAC Residential Holding Company, LLC              12-12033
              GMAC RH Settlement Services, LLC                   12-12034
              GMACM Borrower LLC                                 12-12035
              GMACM REO LLC                                      12-12036
              GMACR Mortgage Products, LLC                       12-12037
              GMAC-RFC Holding Company, LLC                      12-12029
              HFN REO Sub II, LLC                                12-12038
              Home Connects Lending Services, LLC                12-12039
              Homecomings Financial Real Estate Holdings, LLC    12-12040
              Homecomings Financial, LLC                         12-12042
              Ladue Associates, Inc.                             12-12043
              Passive Asset Transactions, LLC                    12-12044
              PATI A, LLC                                        12-12045
              PATI B, LLC                                        12-12046
              PATI Real Estate Holdings, LLC                     12-12047
              RAHI A, LLC                                        12-12048
              RAHI B, LLC                                        12-12049
              RAHI Real Estate Holdings, LLC                     12-12050
              RCSFJV2004, LLC                                    12-12051
              Residential Accredit Loans, Inc.                   12-12052
              Residential Asset Mortgage Products, Inc.          12-12053
              Residential Asset Securities Corporation           12-12054
              Residential Consumer Services of Ohio, LLC         12-12056
              Residential Consumer Services of Texas, LLC        12-12057
              Residential Consumer Services, LLC                 12-12058
              Residential Funding Mortgage Exchange, LLC         12-12059
              Residential Funding Mortgage Securities I, Inc.    12-12060
              Residential Funding Mortgage Securities II, Inc.   12-12061
              Residential Funding Real Estate Holdings, LLC      12-12062
              Residential Mortgage Real Estate Holdings, LLC     12-12063
              Residential Services of Alabama, LLC               12-12055
              RFC Asset Holdings II, LLC                         12-12065
              RFC Asset Management, LLC                          12-12066
              RFC Borrower LLC                                   12-12068
              RFC Construction Funding, LLC                      12-12069
              RFC REO LLC                                        12-12070
              RFC SFJV-2002, LLC                                 12-12071
              RFC-GSAP Servicer Advance, LLC                     12-12064
